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UNITED STATES DISTRICT COURT f
SOUTHERN DISTRICT OF NEW YORK

MONROE STAFFING SERVICES, LLC et al., ; <i ~ f
Plaintiffs,
-against-

PAMELA D. WHITAKER.

QRDER

Defendant. .
20 Civ. 1716 (GBD)

GEORGE B. DANIELS, United States District Judge:
The conference scheduled to occur on February 2, 2021 is hereby adjourned to March 16,

2021 at 9:30 a.m.

Dated: New York, New York
January 27, 2021

SO ORDERED.

Ont OL L Donxb

R . DANIELS
ited States District Judge

 

 
